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     OPINION



   The Racially Charged Meaning Behind The
   Word 'Thug'
   April 30, 2015 · 5:25 PM ET
   Heard on All Things Considered




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   NPR's Melissa Block speaks to John McWhorter, associate professor of English and
   comparative literature at Columbia University, about the use of the word "thug" to
   describe Baltimore rioters.




   MELISSA BLOCK, HOST:

   A certain five-letter word has been used repeatedly over the last few days.

   (SOUNDBITE OF ARCHIVED RECORDING)

   MAYOR STEPHANIE RAWLINGS-BLAKE: ...The thugs who only want to incite
   violence...

   (SOUNDBITE OF ARCHIVED RECORDING)

   GOVERNOR LARRY HOGAN: ...Our city of Baltimore to be taken over by thugs...

   (SOUNDBITE OF ARCHIVED RECORDING)

   PRESIDENT BARACK OBAMA: ...And thugs who tore up the place.


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   BLOCK: Thugs, the word chosen by President Obama, Maryland's governor,
   Baltimore's mayor and others to describe those who looted and burned stores in
   Baltimore and in some cases that were later retracted with an apology. So why is thug
   so charged? John McWhorter has been thinking about this. He teaches linguistics at
   Columbia University and often writes about language and race. Welcome back to the
   program.

   JOHN MCWHORTER: Thank you, Melissa.

   BLOCK: John, I've been looking at the Merriam-Webster definition of thug, and it
   describes it as a brutal ruffian or assassin. What's the origin of this word?

   MCWHORTER: Well, the word originates in India as a word for roughly that. And
   because the British ran India for a good long time, the word jumped the rails from
   Indian languages to English, and that's the reason that we in America have used the
   word for a very long time. And until rather recently, it did mean what you might call a
   ruffian, but of course, things have changed.

   BLOCK: Well, how have they changed?

   MCWHORTER: Well, the truth is that thug today is a nominally polite way of using
   the N-word. Many people suspect it, and they are correct. When somebody talks about
   thugs ruining a place, it is almost impossible today that they are referring to somebody
   with blond hair. It is a sly way of saying there go those black people ruining things
   again. And so anybody who wonders whether thug is becoming the new N-word
   doesn't need to. It's most certainly is.

   BLOCK: Although, if you think about it, I mean, in two of the pieces of tape that we
   played, we heard from an African-American mayor of Baltimore and an African-
   American president of the United States using that word.

   MCWHORTER: Yep, and that is because just like the N-word, we have another one of
   these strangely bifurcated words. Thug in the black community, for about the past 25
   to 30 years, has also meant ruffian, but there is a tinge of affection. A thug in black
   people's speech is somebody who is a ruffian but in being a ruffian is displaying a


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   healthy sort of countercultural initiative, displaying a kind of resilience in the face of
   racism etc. Of course nobody puts it that way, but that's the feeling. And so when
   black people say it, they don't mean what white people mean, and that's why I think
   Stephanie Rawlings-Blake and Barack Obama saying it means something different
   from the white housewife wherever who says it.

   BLOCK: You're saying that African-American, in this case, politicians, who use the
   word thug should be given a pass because they understand it in a different way? I
   mean, the mayor certainly walked back her use of the word. She didn't want to be
   associated with it. She said, you know, I spoke out of frustration. They're really
   misguided young people.

   MCWHORTER: No because I think that if an African-American woman uses the word
   thug today, we're not always conscious of all of these overtones in the words that we
   use. But I think that when she said that, she didn't mean it the same way as her white
   equivalent would. The word means two things, just like the N-word. And I think all of
   us are sophisticated enough to wrap our heads around that.

   BLOCK: When do you see a turning point in how the word thug is used in our culture?

   MCWHORTER: Well, it seems to have made a major change with the rise in
   popularity and cultural influence of rap music and the iconography connected with
   that. I would say that the word thug in the black community had a very different
   meaning by 1990 than it had had in 1980. But that thug image has never been a purely
   negative model. It's always been part ruffian and part hero.

   BLOCK: I'm thinking of Tupac Shakur who had thug life tattooed across his stomach,
   I think.

   MCWHORTER: Exactly, and Tupac Shakur is thought of as a god by many people. If
   he was a thug, then clearly if a black person says thugs were messing up the
   neighborhood, then they mean something other than reprehensible, shall we say, N-
   word. We have different races in this country, and different races have different ways
   of using language. Thug ends up straddling different subcultures.



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   BLOCK: The word thug also - I can think of a number of other applications. I mean,
   folks on the far right might talk about jackbooted government thugs coming to take
   over our communities

   MCWHORTER: That was the original meaning. It changed though. One of the things
   that Americans have a whole lot of trouble with - actually, that people in developed
   societies with written languages have trouble with - is that words never keep their
   meanings over time. A word is a thing on the move. A word is a process. And that's
   what's so confusing about the N-word. And that's what's so confusing now about this
   word, thug. Any discussion where we pretend that it only means one thing is just going
   to lead to dissension and confusion.

   BLOCK: There are a lot of people now, John, who are saying, you know, why - and
   probably listening to this conversation saying, why are you talking about the meaning
   of this word, thug? That is really the wrong question to be asking and the wrong thing
   to be focusing on right now.

   MCWHORTER: (Laughter). Well, to tell you the truth, my interest in all of these
   events is what made these whatever-you-want-to-call-thems rise up the way they did.
   And as far as I'm concerned, I feel that although the rioters were not articulate - they
   were not performing anything that I would call an exactly coherent action, the fact
   that this has happened is symptomatic of severe problems in Baltimore and similar
   cities. And the problem is the relationship between the police and young black men.
   Now, is it justified to tear up your own neighborhood to protest against it? I would say
   not. But the fact that it's happened is something that I think we can use as a possible
   turning point because I really believe that if a generation of young black men grew up
   in this country without thinking of the cops as the enemy, then America would really
   start turning a corner on race.

   But nevertheless, thug is an interesting word, and to the extent that we need to be able
   to hear it as more than some antique, static, dictionary definition, then I think that
   that's part of the process of healing as well. Black people saying thug is not like white
   people saying thug.

   BLOCK: John McWhorter, thanks for talking to us.
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   MCWHORTER: Thank you.

   BLOCK: John McWhorter teaches linguistics, American studies and music at
   Columbia University. His latest book is "The Language Hoax."

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More Arrests Possible In The Killing Of Ahmaud Arbery, State Investigators Say




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https://www.npr.org/2015/04/30/403362626/the-racially-charged-meaning-behind-the-word-thug                             28/31
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           REGISTER

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  dumpster fire




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  dumpster fire
  noun
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  To save this word, you'll need to log in.

  Log In
  variants: or less commonly Dumpster fire

  Definition of dumpster fire
  US, informal
  : an utterly calamitous or mismanaged situation or occurrence : disaster Reese and McAdoo take the fall for what has
  been a dumpster fire of a season, one which has them at 2-10 on the season, and in line for one of the top two picks in the
  2018 NFL Draft.— James Kratch So while 2017 has been, by many measures, a complete dumpster fire of a year, New
  Yorkers can at the very least take refuge in the fact that their city is becoming an even safer place to live.— Clayton Guse

  First Known Use of dumpster fire
  2006, in the meaning defined above

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  Dictionary Entries near dumpster fire
  dump shot

  dumpster

  dumpster diving

  dumpster fire

  dump trailer

  dump truck

  dump valve

  See More Nearby Entries

  Statistics for dumpster fire
  Look-up Popularity

  Bottom 10% of words

  Cite this Entry

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  webster.com/dictionary/dumpster%20fire. Accessed 12 May. 2020.

    Style: MLA

  Co m m en t s o n dumps te r fire


  W h a t m a d e yo u wan t t o lo o k u p dumps te r fire? P lea s e t ell u s wh er e yo u r ead o r
  h ea r d it ( in c lu d in g t h e q u o t e, if p o s s ib le) .


  SH O W C O M M E N T S




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                                                 WORD OF THE DAY


                                                            flotsam
                                                    See Definitions and Examples »


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                                                                          Name that Fruit!

                                                                  jackfruit               pomelo


                                                                 lingonberry           pomegranate




                                                                     Can you spell these 10
                                                                     commonly misspelled words?

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                                                            A Word on 'Descriptive' and
                                                              'Prescriptive' Defining


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                                                             When it comes to words, we're
                                                                       descriptive.




                                                             The Words of the Week -
                                                                    5/8/20

                                                            Words from the week of 5/8/2020




                                                              One-Word Oxymorons:
                                                           Bittersweet, Spendthrift, and
                                                                       More

                                                            When a single word contains two
                                                                    conflicting ideas.




                                                           'Mano a Mano': A Hands-On
                                                                   Approach

                                                             Notes on a confusing borrowing




                                                               A S K T H E ED I TOR S




                                                              How to Remember the
                                                              Spelling of 'Definitely'

                                                                  A definitive answer.



https://www.merriam-webster.com/dictionary/dumpster fire                                                               6/9
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                                                                            Fire by Merriam-Webster




                                                           Video: Why Is There a 'C' in
                                                                    'Indict'?

                                                             And who put it there, anyway?




                                                                       Literally

                                                            How to use a word that (literally)
                                                                drives some people nuts.




                                                            Is Singular 'They' a Better
                                                                     Choice?

                                                            The awkward case of 'his or her'




                                                                 W OR D GAMES




                                                                 Name More Food!

                                                              Test your knowledge of food
                                                                       vocabulary!

                                                                     TA KE T H E Q U I Z




                                                           April 2020 Words of the Day
                                                                      Quiz


https://www.merriam-webster.com/dictionary/dumpster fire                                                               7/9
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                                                                            Fire by Merriam-Webster

                                                            Reminding you that time is, indeed,
                                                                          passing.

                                                                     TA KE T H E Q U I Z




                                                                         Spell It

                                                            Can you spell these 10 commonly
                                                                    misspelled words?

                                                                     TA KE T H E Q U I Z




                                                                     Add Diction

                                                           Build a chain of words by adding one
                                                                     letter at a time.

                                                                     P L AY T H E G A M E




                            Learn a new word every day. Delivered to your inbox!


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                                                                  S P ANIS H CENT RAL

                                                            LEARNER' S ES L D ICTIONARY

                                                              W ORD CENTRAL FOR K ID S

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https://www.merriam-webster.com/dictionary/dumpster fire                                                               8/9
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                                                                            Fire by Merriam-Webster

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